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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


  SKYTEC, INC,

           Plaintiff,

                v.                                   CIVIL NO. 15-2104 (BJM)

  LOGISTIC SYSTEMS, INC.,

           Defendant.



                                  FINAL JUDGMENT

      Judgment is hereby entered for Logistic against Skytec in the amount of

$4,161,858.38 on Logistic’s state law claim for breach of contract.

      This case is now closed for statistical purposes.

      IT IS SO ORDERED.

      In San Juan, Puerto Rico, this 15th day of March, 2019.



                                                s/Bruce J. McGiverin
                                                BRUCE J. McGIVERIN
                                                United States Magistrate Judge
